Case 1:14-ml-02570-RLY-TAB Document 12432
                                    12428 Filed 11/14/19
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                                                                   3 PageID #: 91688
                                                                               91659
                                                                                 APPROVED. Case is
                                                                                 dismissed without prejudice.
                                   UNITED STATES DISTRICT COURT                  Dated: 11/14/19
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION



   IN RE COOK MEDICAL, INC. IVC FILTERS                               Case No: 1:14-ml-2570-RLY-TAB
   MARKETING, SALES PRACTICES, AND                                                      MDL No. 2570
   PRODUCT LIABILITY LITIGATION


   This Document Relates to:

   Vicki Lynn Anderson v. Cook, et al.; 1:16-cv-
   02796


                              RULE 41(a)(2) MOTION TO DISMISS
                      PLAINTIFFS’ OWN COMPLAINT WITHOUT PREJUDICE

               For the reasons set forth fully in the accompanying memorandum, Plaintiff Vicki Lynn

   Anderson (“Ms. Anderson” or “Plaintiff”) seeks an order dismissing her own case without

   prejudice pursuant to Rule 41(a)(2).

               On October 1, 2019, Defendants filed “Cook Defendants’ Omnibus Motion for Summary

   Judgment In 46 Miscategorized No Injury Cases.” Dkt. Nos. 11923, 11924, and 11924-1.

   (“Motion”). Defendants’ Motion argues that Ms. Anderson claims are “miscategorized” because

   she has a tilted filter, which, according to the defense, “fail to raise a legally cognizable injury

   because tilt is not an injury.” See Dkt. No. 11924 at 2; see also id. at 8.

               Despite believing (and arguing) that Plaintiff has no claim, the Defendants are not

   agreeable to dismissing her case without prejudice under Rule 41(a)(1)(A)(ii) without extracting

   additional stipulations. Plaintiff therefore brings this motion for dismissal of her own action

   without prejudice.




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